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The following constitutes the ruling of the court and has the force and effect therein described.


Signed July 18, 2024
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

        IN RE:

        DIVINE N. NYIAWUNG,                            Case Number: 22-40639-MXM
           Debtor
                                                       (Chapter 7)

        DIVINE N. NYIAWUNG,
          Plaintiff,

        v.                                             Adv. No. 23-04036-MXM

        THE U.S. DEPARTMENT OF
        EDUCATION,
          Defendant.



                                         AGREED JUDGMENT




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        Upon consideration of the Complaint (ECF No. 1) and the Stipulation for Entry of

Agreed Judgment filed by the parties (ECF No. 24), as well as the consent of the parties as

evidenced by their signatures below, it is therefore

        ORDERED, ADJUDGED AND DECREED that the student loan debt owed by Divine N.

Nyiawung to the Department of Education is dischargeable pursuant to 11 U.S.C. § 523(a)(8),

and is hereby DISCHARGED.

                                    ### END OF JUDGMENT ##

AGREED TO CONTENT AND FORM:


LEIGHA SIMONTON
Acting United States Attorney

     /s/ Dawn Whalen Theiss
Dawn Whalen Theiss
Assistant United States Attorney
Texas Bar No. 24051755
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214-659-8628
Facsimile: 214-659-8807
dawn.theiss@usdoj.gov
Attorneys for United States
Department of Education



/s/ Kenneth L. Neeley
Kenneth L. Neeley
NEELEY LAW
Attorneys for Plaintiff

/s/ Kyle Schumacher
Kyle Schumacher
Josh Lane
Schumacher Lane PLLC
NEELEY LAW
Co-Counsel for Plaintiff


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